 4:06-cr-03075-RGK-DLP          Doc # 87      Filed: 08/28/07      Page 1 of 6 - Page ID # 600


                              UNITED STATES DISTRICT COURT
                                  DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA
                 Plaintiff
v.                                                   Case Number 4:06cr3075-001

                                                     USM Number 19131-047

KENNETH SLOMINSKI
               Defendant
                                                     JAMES R. HOBBS
                                                     W. BRIAN GADDY
                                                     Defendant’s Attorneys
___________________________________

                               JUDGMENT IN A CRIMINAL CASE
                     (For Offenses Committed On or After November 1, 1987)

THE DEFENDANT pleaded guilty to count VI of the Indictment on 1/5/07.

ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following offense(s):

                                                          Date Offense                 Count
         Title, Section & Nature of Offense                Concluded                 Number(s)


 18:1005 & Section 2 - FALSE STATEMENTS AND                July 2, 1996                  VI
 RECORDS; AIDING AND ABETTING

The defendant is sentenced as provided in pages 2 through 6 of this judgment. The sentence is
imposed pursuant to the Sentencing Reform Act of 1984.

Counts I through V, VII through XXIII of the Indictment are dismissed on the motion of the United
States as to this defendant only.

Following the imposition of sentence, the Court advised the defendant of the right to appeal
pursuant to the provisions of Fed. R. Crim. P. 32 and the provisions of 18 U.S.C. § 3742 (a) and
that such Notice of Appeal must be filed with the Clerk of this Court within ten (10) days of this
date.

IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30
days of any change of name, residence, or mailing address until all fines, restitution, costs and
special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the
defendant shall notify the court and United States attorney of any material change in the
defendant’s economic circumstances.

                                                                   Date of Imposition of Sentence:
                                                                                  August 24, 2007

                                                                          s/ Richard G. Kopf
                                                                          United States District Judge

                                                                             August 28, 2007
 4:06-cr-03075-RGK-DLP           Doc # 87    Filed: 08/28/07     Page 2 of 6 - Page ID # 601


Defendant: KENNETH SLOMINSKI                                                              Page 2 of 6
Case Number: 4:06cr3075-001


                                       IMPRISONMENT

The defendant is hereby committed to the custody of the United States Marshal to be imprisoned
for a term of Time Served.




                               ACKNOWLEDGMENT OF RECEIPT

I hereby acknowledge receipt of a copy of this judgment this ____ day of ____________, ______


                                                            _____________________________
                                                                    Signature of Defendant

                                            RETURN

It is hereby acknowledged that the defendant was delivered on the ____ day of _______________,
_____ to _________________________________, with a certified copy of this judgment.


                                                      __________________________________
                                                             UNITED STATES WARDEN


                                                   By:__________________________________

NOTE: The following certificate must also be completed if the defendant has not signed the
Acknowledgment of Receipt, above.

                                        CERTIFICATE


It is hereby certified that a copy of this judgment was served upon the defendant this ____ day of
_______________, ______


                                                      __________________________________
                                                             UNITED STATES WARDEN


                                                   By:__________________________________
 4:06-cr-03075-RGK-DLP           Doc # 87      Filed: 08/28/07     Page 3 of 6 - Page ID # 602


Defendant: KENNETH SLOMINSKI                                                                 Page 3 of 6
Case Number: 4:06cr3075-001


                                   SUPERVISED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for a term of five
(5) years, said term to run concurrent with sentence imposed in 4:05CR3017.

The defendant shall report to the probation office in the district to which the defendant is released
within 72 hours of release from the custody of the Bureau of Prisons.

The defendant shall not commit another federal, state or local crime.

The defendant shall not possess a firearm, destructive device, or any other dangerous weapon.

The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain
from any unlawful use of a controlled substance. The defendant shall submit to one drug test
within 15 days of release from imprisonment and at least two periodic drug tests thereafter, as
determined by the court.

If this judgment imposes a fine or restitution, it is a condition of supervised release that the
defendant pay in accordance with the Schedule of Payments sheet of this judgment.

The defendant must comply with standard conditions that have been adopted by this court as well
as with any additional conditions on the attached page.

                         STANDARD CONDITIONS OF SUPERVISION

1.      The defendant shall not leave the judicial district without the permission of the court or
        probation officer;
2.      The defendant shall report to the probation officer and shall submit a truthful and complete
        written report within the first five days of each month;
3.      The defendant shall answer truthfully all inquiries by the probation officer and follow the
        instructions of the probation officer;
4.      The defendant shall support his or her dependents and meet other family responsibilities;
5.      The defendant shall work regularly at a lawful occupation, unless excused by the probation
        officer for schooling, training, or other acceptable reasons;
6.      The defendant shall notify the probation officer at least ten days prior to any change in
        residence or employment;
7.      The defendant shall refrain from excessive use of alcohol and shall not purchase, possess,
        use, distribute, or administer any controlled substance or any paraphernalia related to any
        controlled substances, except as prescribed by a physician;
8.      The defendant shall not frequent places where controlled substances are illegally sold,
        used, distributed, or administered;
9.      The defendant shall not associate with any persons engaged in criminal activity and shall
        not associate with any person convicted of a felony, unless granted permission to do so by
        the probation officer;
10.     The defendant shall permit a probation officer to visit him or her at any time at home or
        elsewhere and shall permit confiscation of any contraband observed in plain view of the
        probation officer;
11.     The defendant shall notify the probation officer within seventy-two hours of being arrested
        or questioned by a law enforcement officer;
12.     The defendant shall not enter into any agreement to act as an informer or a special agent
        of a law enforcement agency without the permission of the court;
 4:06-cr-03075-RGK-DLP              Doc # 87       Filed: 08/28/07        Page 4 of 6 - Page ID # 603


Defendant: KENNETH SLOMINSKI                                                                           Page 4 of 6
Case Number: 4:06cr3075-001


13.     As directed by the probation officer, the defendant shall notify third parties of risks that may
        be occasioned by the defendant’s criminal record or personal history or characteristics and
        shall permit the probation officer to make such notifications and to confirm the defendant’s
        compliance with such notification requirement.



                               SPECIAL CONDITIONS OF SUPERVISION


1.      The defendant shall cooperate in the collection of DNA as directed by the probation officer, pursuant
        to the Public Law 108-405 (Revised DNA Collection Requirements Under the Justice for All Act of
        2004), if such sample was not collected during imprisonment.

2.      The defendant shall participate in the home confinement program under electronic monitoring for a
        period of 12 Months. Home confinement shall commence according to a schedule arranged by the
        home confinement specialist. The defendant shall comply with the provisions of the Home
        Confinement Participant Agreement and shall pay for the costs of electronic monitoring. The
        defendant will be allowed to work.

3.      The defendant shall participate in a victim awareness program as directed by the probation officer.
        Based on the defendant’s ability to pay, the defendant shall pay for the costs of the program in an
        amount determined by the probation officer.

4.      The defendant is prohibited from incurring new credit charges or opening additional lines of credit
        without prior written approval of the probation officer.

5.      The defendant shall provide the probation officer with access to any requested financial information.

6.      The requirement of 18 U.S.C. § 3583 (d) regarding drug testing within fifteen (15) days of release on
        supervised release and at least two (2) periodic drug tests thereafter, is suspended until further order
        of the Court because the Presentence Investigation Report on the defendant and other reliable
        sentencing information indicates a low risk of future substance abuse by the defendant.

7.      The defendant shall report to the Supervision Unit of the U.S. Probation Office for the District of
        Nebraska between the hours of 8:00 a.m. and 4:30 p.m., 332 U.S. Courthouse,300 East 3rd Street,
        North Platte, Nebraska, (308) 532-1918, within seventy-two (72) hours of release from confinement,
        and, thereafter, as directed by the probation officer.
 4:06-cr-03075-RGK-DLP             Doc # 87      Filed: 08/28/07       Page 5 of 6 - Page ID # 604


Defendant: KENNETH SLOMINSKI                                                                      Page 5 of 6
Case Number: 4:06cr3075-001


                               CRIMINAL MONETARY PENALTIES


       The defendant shall pay the following total criminal monetary penalties in accordance with
the schedule of payments set forth in this judgment.

       Total Assessment                        Total Fine                      Total Restitution

           $100.00 (paid)                                                  $200,000.00 (A balance of
                                                                          $50,000 remains)




                                                  FINE

          No fine imposed.

                                            RESTITUTION

         Restitution in the amount of $200,000.00 is hereby ordered. The defendant shall make
restitution to the following payees in the amounts listed below.

         If the defendant makes a partial payment, each payee shall receive an approximately
proportional payment, unless specified otherwise in the priority order or percentage payment
column below. However, pursuant to 18 U.S.C. § 3664(I), all nonfederal victims must be paid in
full prior to the United States receiving payment.
                                                                                     Priority Order
                               **Total Amount               Amount of                or Percentage
     Name of Payee                 of Loss              Restitution Ordered           of Payment

 Carter Feeders, Inc.            $150,000.00                $150,000.00                Percentage

 J. B. Inc.                       $25,000.00                 $25,000.00                Percentage

 W. James Hodge                   $25,000.00                 $25,000.00                Percentage

 Totals                          $200,000.00                $200,000.00


         **Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of
Title 18, United States Code, for offenses committed on or after September 13, 1994 but before April 23,
1996.
 4:06-cr-03075-RGK-DLP              Doc # 87       Filed: 08/28/07   Page 6 of 6 - Page ID # 605


Defendant: KENNETH SLOMINSKI                                                                  Page 6 of 6
Case Number: 4:06cr3075-001


                                     SCHEDULE OF PAYMENTS

The defendant has paid the special assessment in the amount of $100.00. The defendant shall pay
restitution in the amount of $200,000.00. A balance of $50,000 remains.

The criminal monetary penalty is due within sixty days from today’s date. The defendant is
obligated to pay said sum immediately if he or she has the capacity to do so. The United States
of America may institute civil collection proceedings at any time to satisfy all or any portion of the
criminal monetary penalty.

All financial penalty payments are to be made to the Clerk of Court for the District of Nebraska, 100
Centennial Mall North, 593 Federal Building, Lincoln, NE 68508.

The defendant shall receive credit for all payments previously made toward any criminal monetary
penalties imposed.

The defendant shall inform the probation officer of any change in his or her economic
circumstances affecting the ability to make monthly installments, or increase the monthly payment
amount, as ordered by the court.

The defendant is restrained from transferring any real or personal property, unless it is necessary
to liquidate and apply the proceeds of such property as full or partial payment of the criminal
monetary penalty.


CLERK’S OFFICE USE ONLY:

ECF DOCUMENT

I hereby attest and certify this is a printed copy of a
document which was electronically filed with the
United States District Court for the District of Nebraska.

Date Filed:___
_______________________________

DENISE M. LUCKS, CLERK

By ______________________________________Deputy Clerk
